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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

CHRIS JENSEN                                                                          PLAINTIFF

v.                               Case No. 4:16-CV-00842-KGB

APPLE VALI CREST NWA LLC                                                             DEFENDANT

                                            ORDER

       Before the Court is plaintiff Chris Jensen and defendant Apple Vali Crest NWA LLC’s

stipulation of dismissal (Dkt. No. 2). The parties jointly request that this Court dismiss with

prejudice this action pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). For good cause

show, the Court adopts the joint stipulation (Dkt. No. 2). This action is dismissed with prejudice

with each party to bear its own costs, expenses, and attorneys’ fees. The Court will retain

jurisdiction to enforce the settlement agreement entered into between the parties.

       So ordered this 25th day of June, 2018.



                                                           _______________________________
                                                           Kristine G. Baker
                                                           United States District Judge
